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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

THOMAS HOKE,

   Plaintiff,
                                                   CASE NO.: 8:18-CV-01109-VMC-JSS
-vs-

PORTFOLIO RECOVERY ASSOCIATES,
LLC,

   Defendant.
                                      /

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

          COMES NOW the Plaintiff, THOMAS HOKE, by and through his undersigned attorney,

and hereby files this Notice of Voluntary Dismissal With Prejudice of the above-captioned

matter.

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

electronic mail this 22nd day of June, 2018 to all counsel of record.



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